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‘by: the Debtorin the inst 8 vears
d, maiden, ad tide nanies):

5e. See. oF Individual-Taxpayer LD.

Debtor (No. and Street. City, and State).
japel Street
Newton, MA

County: ‘OP Residence or of the Principal Place of Business:
Middlesex
Mailing Address of Debtor (if different from street address).

BAP Code

| Assets of Business Debtor
eb uddréss above):

o Other Of detior ig not. one of the above entities,
check this box.and state typeof entity below)

4 Country of debtor's cofiter of raain interests:

Each conatry in which a foreign proceeding
by, regarding, or against debtor is pending:

Filing Pee (Check one box)
[@ wut Filing Fee attached
a Filing Fee to be. id in instalinents (applicableto Must

debtor is unable to pay tee except in install im
Fe arnt 2A.

G Filing Fee waiver requested (applicable to chapter? individuals only) joldust
ailach sighed application for the court's cousdoration: See Officia

49 99° 159°

| Estimated Aste
a oO

iw S00 fo Lee
$20,008 S105,

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Ons
er Grolees, LLC

locaton
Where

| Name of Debtor:
_= None -
Disteiee

Exhibit A

{To be: evileted Wf debtor is an: individeal wii Cee are pritiaely eousumer detis.}
(To. be completed if debtor is required to file-periodie reporis (e.g. j relitid
forms. 10K. and 10Q) with the Securities and Exchange Commission _

pursuant to Section 13 or 15(d) of the Securities Exchange Act of oA

and is requesting relief under chapter 11.)

8 ch chap ter | encenity
‘required yt LUS e §342(b).

Cl Exhibit A is atiached and made a part of this petition.

TST — “(Bate)

Does the debtor own or have possession of any property that poses or ig-alleg Lid pose a threat of imminent and identifiable hari to public health or safety?
(Ves, and Exhibit C is attached and mide a part of this -petition. :

DP No:

if this is a joint petition:
( Exhibit.D also completed and signed by the joint debtor is.attac

Debtor.is-4. debtor i ina a foreign. pine ig aricbhas its
this District, 0 or has HO: ODE of! ‘

El Landlord has a judgment against-the debtor for possession of debior's residence. (if box dheoked, complete te following.)

(Name of landlord that obtained judgment)

(Address of landlord)

te Cure

a Debtor. has included w vith this petition the depeait with the: court of ay vent: that would become due: during ihe 304iay: period
after the filing of the pedtion.

Debtor certifies that he/she has served. the Landlord with this certification. CLES. § 3620).

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"Signature of Debtor

| Signature of Joint Debtor

nce with the chapter of ttle: (1, Uni

ed Individual

